Case 3:18-mj-01535-DEA       Document 229       Filed 12/07/18    Page 1 of 1 PageID: 500


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December 7, 2(118                                                   via ?CF

Honorable Douglas E. Arpert
United States Magistrate Judge
Trenton, NJ

      Re:    United States v. Quiana Welch
             Magis. No. 18-1535 (DEA)

Dear Judge Arpert:

Ms. Quiana Welch is seeking Your Honor’s approval to attend the funeral of her first
cousin, Shaela Johnson, who was murdered on November 27t1.

As the attached obituary demonstrates, the funeral is to:morrow at 11 a,m. at Trinity
United Methodist Church, which is located at 1985 Penmngton Avenue in Ewing.

Ms. Welch seeks permission to leave her home at 9:30 a.rn. and return at 2:3t) p.rn

Rctfully,

‘G1le;ThScktti

cc:    AUSA Day (via ECF and electronic transmission)
       Pretrial Services (via electronic transmission)
